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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 21-cr-670
               v.                            :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                      Defendant.             :

    UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION TO CONTINUE

       The Government opposes Defendant Stephen K. Bannon’s request to delay by a month the

filing deadline for motions to dismiss the indictment or other motions to exclude evidence. None

of the reasons he cites justify delay—especially when, as here, doing so would likely derail the

entire briefing schedule set by the Court and put the July trial date in jeopardy. The Defendant’s

motion to extend the filing deadline should be denied.

        On January 3, 2022, the Court issued the scheduling order setting April 8, 2022, as the

deadline for “any motions to dismiss the indictment or other motions to exclude evidence.” ECF

No. 25 at 1 ¶ 3. This was generally consistent with the Defendant’s requested schedule. See ECF

No. 22-1 (Defendant’s proposed scheduling order setting a deadline for “motions to dismiss the

indictment” on April 1, 2022). On April 5, 2022, the Defendant raised for the first time with the

Government and filed with the Court his request to extend by a month the April 8 deadline. ECF

No. 45. None of the three bases on which the Defendant relies for his request justify delay.

       First, the Defendant states he needs more time to review the Department of Justice records

the Government has produced in response to the Court’s March 16, 2022, Order to support motions

to dismiss on the basis of a public authority and entrapment by estoppel defenses. ECF No. 45 at

2 ¶ 5. As an initial matter, the 218 pages the Government has produced pursuant to the Court’s

order, the vast majority of which are Office of Legal Counsel materials available on the
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Department’s website, are all also in the public domain; and the Defendant already had a

substantial portion of the records because he has previously directly cited to 77 pages of them in

his pleadings in this case. See, e.g., ECF No. 28-12; ECF No. 28-11; ECF No. 28-10; ECF No.

30-1 at 10 ¶ 22; ECF No. 34-1 at 20-23.

       Even if all the records were new, however, it still would not provide a basis for moving the

deadlines. The public authority and entrapment-by-estoppel defenses to which the Defendant

claims the records are relevant are not legal defenses the Court decides on a motion to dismiss.

They are factual, affirmative defenses that turn on what the Defendant was told at the time he

committed the crime by various government representatives. See, e.g., United States v. Fulcher,

250 F.3d 244, 253-54 (4th Cir. 2001) (“The public authority defense allows ‘the defendant [to]

seek[ ] exoneration based on the fact that he reasonably relied” on the “actual authority of a

government official to engage him in a covert activity.’” (citations omitted)); United States v.

Abcasis, 45 F.3d 39, 44 (2d Cir. 1995) (The entrapment by estoppel defense “focuses on the

conduct of the government leading the defendant to believe reasonably that he was authorized to

do the act forbidden by law.”). As such, they are defenses presented to the jury if the Defendant

can make the requisite prima facie showing of each of the defense’s elements. See, e.g., United

States v. Alvarado, 808 F.3d 474, 484 (11th Cir. 2015); United States v. Pardue, 385 F.3d 101,

108-09 (1st Cir. 2004). Even if they were defenses to be raised as a motion to dismiss, they turn

on what the Defendant knew and reasonably relied on at the time he committed the offense.

Alvarado, 808 F.3d at 484 (“[A] federal law enforcement officer must have actually authorized the

defendant to commit the particular criminal act at issue, and the defendant must have reasonably

relied on that authorization when engaging in that conduct.” (emphasis added)); United States v.

Chrestman, 525 F. Supp. 3d 14, 31 (D.D.C. 2021) (Entrapment by estoppel requires “that the




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defendant actually relied on the agent’s misleading pronouncement in committing the offense.”

(emphasis added) (quoting United States v. Cox, 906 F.3d 1170, 1191 (10th Cir. 2018))).

Accordingly, if the Defendant did not already know about the Department records the Government

has produced, those records could not be relevant to these defenses and thus have no bearing on

his ability to make motions related to them. The Defendant’s desire and ability to raise a public

authority or entrapment-by-estoppel defense at trial are unrelated to issues subject to motions to

dismiss and, therefore, have no bearing on the April 8 deadline.

       Second, the Defendant seeks additional time to review any additional discovery this Court

may order in resolving the Defendant’s pending motion to compel discovery relating to the

Government’s investigation of Mr. Costello’s role in the Defendant’s contempt so that he can

assess whether it provides a basis for dismissing the indictment. ECF No. 45 at 3 ¶ 8. But the

Defendant’s counsel stated at the hearing on his motion that the Defendant’s requests for discovery

relating to Mr. Costello did not go to any substantive question in this case. See Mot. Hrg., 3/16/22,

Tr. at 62:4-6; id. at 79:2-10. It could not, therefore, support a motion to dismiss, and the

Defendant’s requests for discovery on this issue has no bearing on the Defendant’s ability to file

his motions to dismiss in this case.

       Third, the Defendant claims that he seeks additional time to determine what motions to

dismiss he may wish to file after the Court rules on the Government’s motion in limine relating to

an advice-of-counsel and reliance-on-law defense. ECF No. 45 at 3 ¶ 7. As the Government

informed the Defendant when explaining its opposition to a delay in the filing deadline, it is the

Government’s view that any motions that arise from later developments in the case, and that were

not, therefore, ripe for filing in advance of previous deadlines, would not be time-barred. When

the Court rules on the Government’s motion, there will still be ample time for the Defendant to




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make any additional motions relating to it before the July 18 trial date. Such a circumstance is not

unique in criminal cases, and it does not provide a basis for delaying the schedule for all of the

other motions the Defendant wishes to file.

       Finally, delaying the April 8 deadline by a month would inevitably disrupt the rest of the

Court’s briefing schedule. The Defendant’s new proposed schedule gives this Court only 11 days

before the parties’ pretrial and in limine motions are due on June 17 to resolve not only the

Defendant’s motions to dismiss, but also the parties’ initial motions to exclude evidence. See ECF

No. 25 at 2 ¶ 4. And, other than those he identifies in his motion to continue, the Defendant has

previously identified a litany of bases on which he believes the indictment should be dismissed,

including claims that executive privilege rendered the subpoena invalid; that the Government did

and did not present certain evidence to the grand jury, Status Hrg., 12/7/22, Tr. at 25:22-26:8; that

the Select Committee lacks a legislative purpose, id. at 26:9-10; that the indictment is the result of

selective prosecution, “partisan political attack,” and vindictiveness, id. at 27:7-12; that the

indictment violates the First Amendment, id. at 27:10-11; and that the Committee did not follow

its own rules and protocols, id. at 28:2-5. There is nothing pending that bars the Defendant from

lodging motions to dismiss on any or all of these bases as scheduled on April 8, but his proposed

delay makes it likely that, given the compressed pre-trial schedule it would cause, the Defendant

will be back before the Court asking for another delay so he can consider the Court’s rulings on

his motions to dismiss and the parties’ motions to exclude evidence before filing his next pretrial

motions. That, in turn, would jeopardize the July 18 trial date.

       There is no basis to delay the Court’s deadline for motions to dismiss and the parties’

motions to exclude evidence. It may be that developments in the case give rise to additional




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motions—from both parties—but that is not a reason to abandon the schedule. The Court should

deny the Defendant’s motion to continue.

                                           Respectfully submitted,

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